Case 2.:04-cv-O2806-SHI\/|-dkv Document 23 Filed 08/15/05 Page 1 of 3 Page|D 22

-Fn.En mr z(§{g_a
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE GSAUGIS PH 3:2|
WESTERN DIVISION

 

CI£HK, us n.::;?’~t:crm

sYMA.NTHIA cooPER, W/'.G O,F 'r.%?,y a,.;g;,AE:HS

Plaintiff,
vs. No. 04-2806 MaV
MEMPHIS AREA MEDICAL CENTER

FOR WOMEN, BARBARA WOTHERSPOON,
M.D., individually, et al.,

v\.r\.¢\_/`.d~_¢`.r'-_¢\_J`_¢`-d

Defendants.

 

ORDER DENYING MOTION TO AMEND COMPLAINT

 

Before the court is the motion of the plaintiff, Symanthia
Cooper, served on the defendant on August 10 2005, pursuant to Rule
15(a) of the Federal Rules of Civil Procedure for leave to amend
her complaint to increase the amount of damages alleged in
Paragraph 6. This motion was referred to the United States
Magistrate Judge for determination.

Local Rule ll(a)(l)(B) requires that all motions, with some
exceptions not relevant here, be accompanied by a certificate of
counsel affirming that, after consultation pursuant to the Rule,
the parties were unable to reach an accord or an agreement mooting
all issues. Failure to file a certificate of consultation “may be
good grounds for denying the nmtion.” Local Rule ll(a)(l)(B).

Thus, plaintiff's failure to file a Local Rule 11 certificate of

THE documentenuwed cnthe dock sheetd\compn¢“
with Ru!eSB andr'or?§(aj F!-`iC,P on -' ' w

Case 2:O4-cv-O2806-SHI\/|-dkv Document 23 Filed 08/15/05 Page 2 of 3 Page|D 23

counsel is sufficient grounds to deny the motion.

Plaintiff also failed to file a supporting memorandum.of fact
and law as required under Local Rule ll(a)(l).

Therefore, plaintiff's motion is not well-taken because of
plaintiff's failure to file an accompanying certificate of
consultation under Local Rule 11 and a supporting memorandum of
fact and law, Accordingly, plaintiff's Motion to Amend Complaint

is hereby denied.

IT Is so 0RDERED this 15th day of August, 2005.

/D./(M:c Z/ QM¢WV

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JU'DGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:04-CV-02806 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

 

.1 effrey L. Griffm

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

1\/1emphis7 TN 38103

Brian H. Neely

LAW OFFICE OF BRIAN H. NEELY
P.O. Box 1032

Tupelo, MS 38802

James T. McColgan

JA1\/[ES T. MCCOLGAN & ASSOCIATES, PLLC
1661 International Place Drive

Ste. 400

1\/1emphis7 TN 38120

.1 ames L. Kirby

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

1\/1emphis7 TN 38103

William W. Housley

LAW OFFICE OF WILLIAM W. HOUSLEY, JR
110 Robins St.

Tupelo, MS 38804

Honorable Samuel Mays
US DISTRICT COURT

